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                       UNITED STATES BANKRUPTCY COURT
                          MIDDLE DISTRICT OF FLORIDA


                                         PRO MEMO

                                                              04/16/2018 02:30 PM

                                                              COURTROOM 300 North Hogan Street

HONORABLE JERRY FUNK
CASE NUMBER:                                                  FILING DATE:

3:18-bk-01164-JAF                      11                       04/11/2018

Chapter 11

DEBTOR:                Eihab H. Tawfik, M.D., P.A.



DEBTOR ATTY:          Daniel Velasquez

TRUSTEE:              NA

HEARING:

1. Preliminary Hearing on Emergency Motion/Application to Pay Prepetition Wage Claims Filed by Justin M. Luna on behalf of
                       Debtor Eihab H. Tawfik, M.D., P.A. (Luna, Justin) Doc #10
2. Preliminary Hearing on Emergency Motion to Use Cash Collateral Filed by Justin M. Luna on behalf of Debtor Eihab H. Tawfik,
                       M.D., P.A. (Luna, Justin) Doc #9
-Objection to Debtor's Emergency Motion for Authority to Use Cash Collateral and Request for Emergency Preliminary Hearing
                       Filed by Megan Wilson Murray on behalf of Interested Party Central Bank (related document(s)[9]).
                       (Murray, Megan) Doc #18
3. Preliminary Hearing on Emergency Motion/Application to Pay Officer Affiliate Salaries Filed by Justin M. Luna on behalf of
                       Debtor Eihab H. Tawfik, M.D., P.A. (Luna, Justin) Doc #11

APPEARANCES::

WITNESSES:

EVIDENCE:

RULING:
1. Preliminary Hearing on Emergency Motion/Application to Pay Prepetition Wage Claims Filed by Justin M. Luna on behalf of
Debtor Eihab H. Tawfik, M.D., P.A. (Luna, Justin) Doc #10

GRANTED ORD/LUNA



2. Preliminary Hearing on Emergency Motion to Use Cash Collateral Filed by Justin M. Luna on behalf of Debtor Eihab H. Tawfik,
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                         Case 3:18-bk-01164-JAF            Doc 21      Filed 04/16/18      Page 2 of 2
 GRANTED (INTERIM 30-45 DAYS) ORD/LUNA

-Objection to Debtor's Emergency Motion for Authority to Use Cash Collateral and Request for Emergency Preliminary Hearing
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3. Preliminary Hearing on Emergency Motion/Application to Pay Officer Affiliate Salaries Filed by Justin M. Luna on behalf of
Debtor Eihab H. Tawfik, M.D., P.A. (Luna, Justin) Doc #11

 RESCHEDULED TO BE HEARD WITH # 2 ABOVE WHEN SET ORD/LUNA
Proposed Orders, if applicable, should be submitted within three days after the date of the hearing - Local Rule 9072-1(c). Orders
not submitted by the time of closing will result in motions/objections/applications being denied as moot. This docket
entry/document is not an official order of the Court.




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